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       10-31618-hcm Doc#38 Filed 10/14/11 Entered 10/14/11 23:59:04 Imaged Certificate of
                                       Notice Pg 5 of 8
                                       United States Bankruptcy Court
                                         Western District of Texas
In re:                                                                                    Case No. 10-31618-hcm
Jerome Ball                                                                               Chapter 13
Kimberly Ball
         Debtors
                                         CERTIFICATE OF NOTICE
District/off: 0542-3           User: vogest                  Page 1 of 4                    Date Rcvd: Oct 12, 2011
                               Form ID: pdfapac              Total Noticed: 85


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 14, 2011.
db          #+Jerome Ball,     8944 B Herbert,     El Paso, TX 79904-1498
db            +Kimberly Ball,    8944 B Herbert,     El Paso, TX 79904-1498
cr            +WESTERN TRUCK SALES,     Attn: Adriana Sustista, Sales Manager,      6000 Dyer,
                El Paso, TX 79904-5622,     U S A
14615520       ABC Motors,    9121 Montana Ave,     El Paso, TX 79925-1314
14615522      +AT & T,    Bankruptcy Department,     P.O. Box 769,    Arlington, TX 76004-0769
14615521       Armed Forces Bank,     1720 Marshall Rd.,    P.O. Box 6555,    Fort Bliss, TX 79906
14615524      +Attorney General,    10th & Constitution N.W.,      Main Justice Bldg. #5111,
                Washington, DC 20530-0001
14615525       Bally Total Fitness,     P.O. Box 1090,    Norwalk, CA 90651-1090
14615529       Black Expressions Book,     c/o RJM Acquisitions, LLC,     575 Underhill Blvd Suite 224,
                Syosset, NY 11791-3416
14615528       Black Expressions Book,     Member Service Center,     6550 E. 30th Street,     P.O. Box 6325,
                Indianapolis, IN 46206-6325
14615530       California Student Aid Commission,      P.O. Box 419045,    Rancho Cordova, CA 95741-9045
14615532      +Casa Rentals,    9526 Dyer,    El Paso, TX 79924-4702
14637355      +Cavalry Portfolio Services, LLC,      500 Summit Lake Dr Suite #400,     Valhalla, NY 10595-2322
14615533       Charter One Bank,    6301 S. Cass Ave. #1,     Westmont, IL 60559-2685
14615535      +Comcast,    c/o Credit Protection Associates,     13355 Noel Road,     Dallas, TX 75240-6837
14615534       Comcast,    P.O. Box 3005,    Southeastern, PA 19398-3005
14701970      +DeVRY, Inc.,    814 Commerce Dr.,     Oak Brook, IL 60523-1965
14670020      +DeVry University,    814 Commerce Drive,     Oak Brook, IL 60523-1965
14615537      +Debra Crume,    135 Oakhurst,    Matteson, IL 60443-1008
14713771      +ECMC,    PO Box 75906,    St. Paul, MN 55175-0906
14615541      +Edward Ball,    6038 S. Caflin,     Chicago, IL 60636-2310
14615542       FHA/HUD,    Federal Office Bldg.,     1205 Texas Ave.,    Lubbock, TX 79401-4093
14615544       Foundation Emergency Service,      c/o Creditors Discount & Audit,     331 Fulton Street # 535,
                Peoria, IL 61602-1469
14663700      +Higher Education Student Assistance Authority,       PO Box 548,    Trenton, NJ 08625-0548
14615545      #Hollywood Video,    P.O. Box 6789,     Wilsonville, OR 97070-6089
14615550      +Just Military Loans,     901 N. Market St, Ste. 463,     Wilmington, DE 19801-3013
14615551      +Kmart,    c/o GC Services,    6330 Gulfton,    Houston, TX 77081-1108
14615553       Las Palmas Medical Center,     Patient Accts Dept.,     P.O. Box 409288,     Atlanta, GA 30384-9288
14615554      +Las Palmas Medical Center,     c/o Paramount Recovery Systems,      111 E. Center Street,
                P.O. Box 788,    Lorena, TX 76655-0788
14615555       Little Company of Mary Hospital,      1300 W 7th Street,,    San Pedro, CA 90732-3505
14615557      +Military Credit Serivices LLC,      1150 E. Little Creek Rd.,     Suite 201,    Norfolk, VA 23518-3826
14625091      +Military Credit Services,     1150 E. Little Creek Rd,     Norfolk, VA 23518-3826
14615558       Military Star Card,     P.O. Box 78731,    Phoenix, AZ 85062-8731
14615559       New Jersey Higher Education Student Asst,      4 Quakerbridge Plaza,     Trenton, NJ 08619-1241
14615562      +Nextel,    c/o Diversified Adjustment Service, Inc.,      P.O. Box 32145,     Fridley, MN 55432-0145
14641133      +Rjm Acquisitions Llc,     575 Underhill Blvd,    Suite 224,    Syosset, NY 11791-4437
14615564      +Rushfair Villa Apartments,     5205 Fairbanks,    El Paso, TX 79924-3960
14615566      +SBC Illinois,    Consumer Billing,     P.O. Box 1536,    Topeka, KS 66601-1536
14615560    ++SPRINT NEXTEL CORRESPONDENCE,       ATTN BANKRUPTCY DEPT,    PO BOX 7949,
                OVERLAND PARK KS 66207-0949
              (address filed with court: Nextel,       Attn: Bankruptcy Department,     P.O.Box 7949,
                Overland Park, KS 66207-0949)
14615569    ++SPRINT NEXTEL CORRESPONDENCE,       ATTN BANKRUPTCY DEPT,    PO BOX 7949,
                OVERLAND PARK KS 66207-0949
              (address filed with court: Sprint Bankruptcy,        P.O. Box 7949,    Overland Park, KS 66207-0949)
14646236    ++SPRINT NEXTEL CORRESPONDENCE,       ATTN BANKRUPTCY DEPT,    PO BOX 7949,
                OVERLAND PARK KS 66207-0949
              (address filed with court: Sprint Nextel Correspondence,          Attn Bankruptcy Dept,    PO Box 7949,
                Overland Park KS 66207-0949)
14646237    ++SPRINT NEXTEL CORRESPONDENCE,       ATTN BANKRUPTCY DEPT,    PO BOX 7949,
                OVERLAND PARK KS 66207-0949
              (address filed with court: Sprint Nextel Distribution,        Attn: Bankruptcy Dept,     P.O. Box 3326,
                Englewood, CO 80155-3326)
14941185      +Santander Consumer USA,     Po Box 560284,    Dallas, TX 75356-0284
14615565      +Santander Services,     P.O. Box 562088, Suite 900-North,     Dallas, TX 75356-2088
14615568      +Sprint,    c/o E R Solutions, Inc.,     500 SW 7th St. #A100,     P.O. Box 9004,
                Renton, WA 98057-9004
14615570      +Sprint PCS,    Attn: Customer Care,     P.O. Box 8077,    London, KY 40742-8077
14615571      +Sprint PCS,    c/o Cavalry Portfolio,     4050 E. Cotton Center Blvd.,     Phoenix, AZ 85040-8862
14615572       T Mobile,    Bankruptcy Department,     P.O. Box 37380,    Albuquerque, NM 87176-7380
14615574      +Time Warner Communications,     c/o Credit Management, Inc.,      4200 International Parkway,
                Carrollton, TX 75007-1912
14615573      +Time Warner Communications,     7010 Airport Road,     El Paso, TX 79906-4943
14615576      +U.S. Attorney/FHA/HUD/IRS/VA,      601 N.W. Loop 410,    Suite 600,    San Antonio, TX 78216-5512
14615577       U.S. Department of Education,      Direct Loan Servicing Center,     P.O. Box 5609,
                Greenville, TX 75403-5609
14615578       US Cellular Chicago,     300 Collins Rd NE,    Cedar Rapids, IA 52402-3119
       10-31618-hcm Doc#38 Filed 10/14/11 Entered 10/14/11 23:59:04 Imaged Certificate of
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                              Form ID: pdfapac             Total Noticed: 85


14615581      US Cellular Chicago,    c/o Portfolio Recovery Associates,    P.O. Box 41067,
               Norfolk, VA 23541-1067
14615582      US Debt,    4167 Russell Street,    Jupiter, FL 33469-2631
14822752     +US Department of Education,    P O Box 65128,    Saint Paul MN 55165-0128
14772594     +USA Discounters,    PO Box 8008,    Virginia Beach, VA 23450-8008
14615584     +USAA,    9800 Fredericksburg Rd.,    San Antonio, TX 78288-0002
14615586     +Verizon Wireless,    c/o Pinnacle Credit Services,    7900 Highway 7 #100,
               Minneapolis, MN 55426-4045
14615589     +Wee Care Daycare,    9821 Mccombs St,    El Paso, TX 79924-4957
14615590     +Wells Fargo Bank,    P.O. Box 5943,    Sioux Falls, SD 57117-5943
14690791     +Wells Fargo Bank,    Overdraft Recovery Payment Pro. Dept.,     A0143-042,    P.O. Box 63491,
               San Francisco, Ca 94163-0001
14615591      Western Truck Sales,    6000 Dyer,    El Paso, TX 79904-5622
14738210     +Western Truck Sales,    Attn: Adriana Sustiata, Sales Manager,     6000 Dyer,
               El Paso, Texas 79904-5622
14738820     +Western Truck Sales,    Law firm of Carlos a. Miranda III,    5915 Silver Springs, Bldg 7,
               El Paso, TX 79912-4126
14738773     +Western Truck Sales,    c/o Law Firm of Carlos A. Miranda III,     5915 Silver Springs Bldg 7,
               El Paso, TX 79912-4126
14615593     +World Victory Daycare,    6200 Dyer St.,    El Paso, TX 79904-5626

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
14615523      E-mail/Text: BANKRUPTCY@ASSETACCEPTANCE.COM Oct 13 2011 02:36:18        AT & T,
               c/o Asset Acceptance LLC,    P.O. Box 795161,    San Antonio, TX 78279-5161
14626139      E-mail/PDF: EBN_AIS@AMERICANINFOSOURCE.COM Oct 13 2011 05:10:39
               American Infosource Lp As Agent for,     T Mobile/T-Mobile USA Inc,    PO Box 248848,
               Oklahoma City, OK 73124-8848
14678390     +E-mail/Text: awilliams@dfckc.com Oct 13 2011 02:52:24        Armed Forces Bank, N.A.,
               Douglas M. Neeb, Esq.,    Dickinson Financial Corporation,     1111 Main, Suite 1600,
               Kansas City, MO 64105-2116
14712093     +E-mail/Text: BANKRUPTCY@ASSETACCEPTANCE.COM Oct 13 2011 02:36:18        Asset Acceptance, LLC,
               PO Box 2036,    Warren, MI 48090-2036
14615526      E-mail/Text: BANKRUPTCY@ASSETACCEPTANCE.COM Oct 13 2011 02:36:18        Bally Total Fitness,
               c/o Asset Acceptance LLC,    P.O. Box 2039,    Warren, MI 48090-2039
14615529      E-mail/Text: rjm@ebn.phinsolutions.com Oct 13 2011 02:36:12        Black Expressions Book,
               c/o RJM Acquisitions, LLC,    575 Underhill Blvd Suite 224,     Syosset, NY 11791-3416
14615536      E-mail/Text: bankruptcy@consumerportfolio.com Oct 13 2011 02:37:42
               Consumer Portfolio Services,    P.O. Box 57071,    Irvine, CA 92619-7071
14615538      E-mail/Text: tangernette.anderson@va.gov Oct 13 2011 02:52:35        Department of Veterans Affairs,
               Debt Management Center,    Bishop Henry Whipple/Federal Building,     P.O. Box 11930,
               Saint Paul, MN 55111-0930
14637338     +E-mail/Text: ISAC.Bankruptcy@ISAC.illinois.gov Oct 13 2011 02:50:41
               Illinois Student Assistance Commission,     1755 Lake Cook Road,    Deerfield, IL 60015-5209
14615556      E-mail/PDF: bankruptcy@senexco.com Oct 13 2011 05:19:36        Little Company of Mary Hospital,
               c/o SENEX Services,    3500 Depauw Boulevard # 3050,    Indianapolis, IN 46268-6135
14615561      E-mail/PDF: recoverybankruptcy@afninet.com Oct 13 2011 05:11:24        Nextel,    c/o AFNI,
               404 Brock Drive,    P.O. Box 3097,    Bloomington, IL 61702-3097
14629444     +E-mail/Text: ebn@vativrecovery.com Oct 13 2011 02:51:27        Palisades Collections, LLC,
               Vativ Recovery Solutions LLC,     C/O Palisades Collections, LLC,     PO Box 19249,
               Sugar Land TX 77496-9249
14637332     +E-mail/PDF: bk@worldacceptance.com Oct 13 2011 05:11:30        Personal Credit Plan,
               9155 Dyer St Ste D4,    El Paso, TX 79924-6424
14615563     +E-mail/Text: bkpioneer@pioneerservices.com Oct 13 2011 02:52:16        Pioneer Military Lending,
               4525 Victory Drive,    Columbus, GA 31903-4100
14641133     +E-mail/Text: rjm@ebn.phinsolutions.com Oct 13 2011 02:36:12        Rjm Acquisitions Llc,
               575 Underhill Blvd,    Suite 224,    Syosset, NY 11791-4437
14658348      E-mail/PDF: BNCEmails@blinellc.com Oct 13 2011 05:14:04        Roundup Funding, LLC,    MS 550,
               PO Box 91121,    Seattle, WA 98111-9221
14615580     +E-mail/PDF: recoverybankruptcy@afninet.com Oct 13 2011 05:11:20        US Cellular Chicago,
               c/o AFNI,    P.O. Box 20939,   Ferndale, MI 48220-0939
14615587     +E-mail/Text: BKRPT@RETRIEVALMASTERS.COM Oct 13 2011 02:36:25        Verizon Wireless,
               c/o Retrieval Masters Creditors Bureau,     2269 S. Saw River Road,    Elmsford, NY 10523-3832
14615585      E-mail/PDF: bankruptcyverizonwireless@afninet.com Oct 13 2011 05:11:09         Verizon Wireless,
               P.O. Box 105378,    Atlanta, GA 30348-5378
14615592     +E-mail/PDF: bk@worldacceptance.com Oct 13 2011 05:11:30        World Finance,    4110 Montana Ave.,
               El Paso, TX 79903-4609
                                                                                                TOTAL: 20

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
14615540      DeVRY Inc.,   c/o Merchants Credit Guide
14615543      Foundation Emergency Service
14615549      ISAC
14615547      International Cash Advance
14615548      International Cash Advance,   c/o Seattle Service Bureau
14615552      Kmart,   c/o Trident Asset Management
14615579      US Cellular Chicago,   c/o Account Recovery Systems
         10-31618-hcm Doc#38 Filed 10/14/11 Entered 10/14/11 23:59:04 Imaged Certificate of
                                         Notice Pg 7 of 8


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                                       Form ID: pdfapac                   Total Noticed: 85

 14615531*        California Student Aid Commission,    P.O. Box 419045,    Rancho Cordova, CA 95741-9045
 14615575*        Time Warner Communications,    7010 Airport Road,    El Paso, TX 79906-4943
 14615527       ##Bank of America,    P.O. Box 1390,   Norfolk, VA 23501-1390
 14615539       ##DeVRY Inc.,   One Tower Lane - Suite 1000,     Oakbrook Terrace, IL 60181-4624
 14615546      ##+Humpty Dumpty Daycare,    9477 Dyer,    El Paso, TX 79924-6421
 14615567      ##+SBC Illinois,    c/o Allied Interstate,    800 Interchange West,   435 Ford Rd,
                   Minneapolis, MN 55426-1066
 14615583       ##USA Discounters Credit,    1430 North Lee Trevino Drive,    El Paso, TX 79936-6427
 14615588       ##Veterans Administration,    Attn: Support Services Division (243),     701 Clay Avenue,
                   Waco, TX 76799-0001
                                                                                                  TOTALS: 7, * 2, ## 6

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.

 Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
 pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

 Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
 While the notice was still deliverable, the notice recipient was advised to update its address with the court
 immediately.

 Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
 will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
 debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Oct 14, 2011                                       Signature:
      10-31618-hcm Doc#38 Filed 10/14/11 Entered 10/14/11 23:59:04 Imaged Certificate of
                                      Notice Pg 8 of 8


District/off: 0542-3         User: vogest                 Page 4 of 4                  Date Rcvd: Oct 12, 2011
                             Form ID: pdfapac             Total Noticed: 85


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 11, 2011 at the address(es) listed below:
              Carlos A. Miranda    on behalf of Creditor WESTERN TRUCK SALES cmiranda@mirandafirm.com,
               cmirandaiii@gmail.com;gperez@mirandafirm.com
              Edgar J. Borrego    on behalf of Debtor Jerome Ball tanzy.borrego@566-plan.com,
               tanzy.mail@gmail.com;tanzy.borrego.it@gmail.com
              Sol M. Cortez    on behalf of Debtor Jerome Ball tanzy.borrego@566-plan.com,
               Tanzy.Mail@gmail.com;tanzy.borrego.it@gmail.com
              Stuart C. Cox    dmarte@ch13elpaso.com
              United States Trustee - EP12    USTPRegion07.SN.ECF@usdoj.gov
                                                                                              TOTAL: 5
